

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NOS. PD-0250-09 &amp; PD-0251-09






CLAUDE WAYNE CHADWICK, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITIONS FOR DISCRETIONARY REVIEW


FROM THE THIRD COURT OF APPEALS


TOM GREEN COUNTY





	Keasler, J., delivered the unanimous opinion of the Court.


O P I N I O N 



	Claude Wayne Chadwick complained on appeal that the trial judge improperly refused
to allow him to proceed pro se after his competency to stand trial was restored. (1)  The Third
Court of Appeals affirmed the trial judge's ruling. (2)  Chadwick now argues that the court of
appeals erred in its application of the United States Supreme Court's recent decision in
Indiana v. Edwards (3) and by implying findings of fact supporting the trial judge's ruling.  We
disagree and affirm the court of appeals's judgment.

Background

	Chadwick was charged with assault on a public servant and attempting to take a
weapon from a peace officer.  The trial judge found that Chadwick was incompetent to stand
trial and ordered Chadwick to be committed to a state hospital.  When Chadwick's
competency was restored approximately two and a half years later, he was transferred back
to the county's custody and brought to trial.  At trial, Chadwick asserted his right to self-representation, but the judge denied his request.  Chadwick was represented by appointed
counsel at trial.  The jury found Chadwick guilty of both offenses and assessed his
punishment at fifty and twenty years' confinement, respectively.

Court of Appeals

	The Third Court of Appeals affirmed the trial judge's ruling. (4)  Citing Indiana v.
Edwards, the court held that the trial judge "could have reasonably concluded that Chadwick
was not competent to represent himself and that, if he had been allowed to do so, he would
not have been able to receive a fair trial." (5)  The court further held that there was sufficient
evidence in the record to support the trial judge's finding that Chadwick was incompetent to
represent himself. (6)

Law

	In 1960, the United States Supreme Court decided Dusky v. United States, in which
it defined the constitutional standard for competence to stand trial: "[1] whether [the accused]
has sufficient present ability to consult with his lawyer with a reasonable degree of rational
understanding and [2] whether he has a rational as well as factual understanding of the
proceedings against him." (7)  Fifteen years later, in Faretta v. California, the Court considered
whether a defendant in a state criminal trial has a constitutional right to proceed pro se when
the defendant voluntarily and intelligently elects to do so. (8)  The Court concluded that the
Sixth and Fourteenth Amendments to the federal Constitution prohibit the State from
"hal[ing] a person into its criminal courts and there forc[ing] a lawyer upon him, even when
he insists that he wants to conduct his own defense." (9)  And in 1993, the Court held that the
standard for waiving the right to counsel is no higher than for competency to stand trial in
Godinez v. Moran. (10) 

	Less than two years ago, in Indiana v. Edwards, the Court built on Dusky, Faretta,
and Godinez.  In Edwards, the Court considered the issue now before us--whether the
federal Constitution requires a state trial judge to allow a mentally ill defendant, upon
request, to proceed pro se at trial. (11)  The Court noted that it had not addressed the "relation
of the mental competence standard to the right of self-representation" in its previous cases. (12) 
Ultimately, the Court recognized a "mental-illness-related limitation on the scope of the self-representation right." (13)  It held that

	the Constitution permits judges to take realistic account of the particular
defendant's mental capacities by asking whether a defendant who seeks to
conduct his own defense at trial is mentally competent to do so.  That is to say
the Constitution permits States to insist upon representation by counsel for
those competent enough to stand trial under Dusky but who still suffer from
severe mental illness to the point where they are not competent to conduct trial
proceedings by themselves. (14)


	In reaching this conclusion, the Court took into account the erratic character of mental
illness and determined that "the trial judge . . . will often prove best able to make more fine-tuned mental capacity decisions, tailored to the individualized circumstances of a particular
defendant." (15)

	In deciding Edwards, the Court specifically declined to overrule Faretta. (16)  It also
declined to adopt the more specific standard proposed by Indiana, stating that such a standard
would "deny a criminal defendant the right to represent himself at trial where the defendant
cannot communicate coherently with the court or a jury." (17)  The Court held "only that the
lack of mental competence can under some circumstances form a basis for denying the right
to proceed pro se." (18)

	As the Supreme Court noted in Edwards, the trial judge is in the best position to make
the decision of whether a mentally ill defendant is competent to proceed pro se. (19) 
Accordingly, since this is a mixed question of law and fact that turns on an evaluation of
credibility and demeanor, we review the trial judge's ruling for an abuse of discretion. (20)  We
afford almost total deference to a trial judge's rulings on mixed questions of law and fact
when the resolution of the issue turns on an evaluation of credibility and demeanor. (21)  We
view the evidence in the light most favorable to the trial judge's ruling. (22)  And we will imply
any findings of fact supported by the evidence and necessary to support the trial judge's
ruling when the judge failed to make explicit findings. (23)

Analysis

	Chadwick mounts a two-part challenge to the court of appeals's analysis.  First,
Chadwick argues that the court of appeals's holding is "tantamount to holding that Indiana
v. Edwards overruled Faretta v. California."  Second, Chadwick argues that the court of
appeals erred by implying findings of fact that he was not competent to represent himself. 
He argues that the evidence did not support such a finding that he was incompetent to
represent himself.

	We conclude that the court of appeals did not err.  As noted above, the court did not
hold that Edwards overruled Faretta.  To the contrary, the court noted at the outset Faretta's
rule that defendants have a right of self-representation. (24)  The court then correctly observed
that Edwards controlled the case, and that under Edwards, the individual States may insist
that a defendant who is competent to stand trial--but incompetent to conduct his or her own
defense--be represented by counsel. (25)

	Chadwick's argument--that the trial judge erred by refusing to allow him to represent
himself because the judge did not enter a finding of fact that he was incompetent to do so--
is also without merit.  As noted above, the law requires appellate courts to imply any findings
of fact supported by the evidence and necessary to uphold the trial judge's ruling if they are
not contrary to any specific factfindings. (26)  Chadwick presents no authority to the contrary. 
The evidence in this case supported implied findings of fact that Chadwick's mental illness
was severe enough to render him incompetent to proceed pro se, even though the trial judge
deemed competent him to stand trial.

	The trial judge held a pretrial hearing on August 28, 2007.  In addition to his own
motions, Chadwick's counsel adopted Chadwick's pro se motions.  During the course of the
hearing, Chadwick interrupted his attorney several times.  Chadwick objected several times,
even as the judge granted the motions filed by his attorney.  After several interruptions, the
judge told Chadwick to let his attorney speak for him.

	At the end of the pretrial hearing on August 28th, Chadwick, apparently dissatisfied
with the hearing, asked the judge, "Would it be inappropriate to curse you with every Israeli
curse there is?"  Chadwick's counsel advised him that it would be.  Chadwick ignored the
advice and stated, "May Yaweh curse you till the end and may I put an eternal indictment on
you and I will prosecute you to eternity."

	On September 10th, the day trial was to begin, Chadwick refused to come to court. 
The judge, the prosecutor, and Chadwick's attorney engaged in a lengthy debate over how
to proceed in Chadwick's absence.  Chadwick eventually came without incident, but only
after he was permitted to make a video in the county jail documenting various grievances. 
Once in the courtroom, Chadwick immediately asserted his right to represent himself.  He
then engaged in a rambling monologue in which he launched personal attacks on the
prosecutor, the judge, the bailiffs, judges from prior cases, and his attorney.  The trial judge
denied Chadwick's request to represent himself, noting on the docket sheet that he "could
not properly conduct trial with Defendant representing himself."

	The court of appeals observed that, in addition to the trial judge's observations of
Chadwick's conduct in the courtroom, there were several incoherent pro se written motions. 
Some were filed before Chadwick's competency was restored, and therefore, unless re-urged
after he was found competent, would not be indicative of his ability to represent himself.  But
in this case, Chadwick did request that his attorney adopt the motions; they may therefore be
considered to support the conclusion of the trial judge. (27)

	Given the evidence in the record of Chadwick's behavior before the trial judge, his
refusal to come to court the first day of trial, and the incoherent pro se motions, and viewing
the evidence in the light most favorable to the trial judge's ruling, we conclude that the judge
did not abuse his discretion.  We further hold that the court of appeals did not err in implying
findings of fact supporting the trial judge's decision to deny Chadwick's request to represent
himself. (28)

Conclusion

	We conclude that the trial judge's ruling was not an abuse of discretion, and that the
court of appeals did not err in implying findings of fact supporting the judge's ruling.  We
therefore affirm the judgment of the court of appeals.  


DATE DELIVERED: May 5, 2010

PUBLISH:
1.   See Tex. Penal Code Ann. §§ 22.01(b)(1), 38.14(b) (Vernon 2003).
2.   Chadwick v. State, 277 S.W.3d 99, 102-03 (Tex. App.--Austin 2009).
3.   128 S. Ct. 2379 (2008).
4.   Chadwick, 277 S.W.3d at 107.
5.   Id. at 104-05.
6.   Id. at 104.
7.   362 U.S. 402, 402.
8.   422 U.S. 806, 807 (1975).
9.   Id.
10.   Godinez v. Moran, 509 U.S. 389, 399 (1993).
11.   128 S. Ct. at 2383.
12.   Id. 
13.   Id. at 2384.
14.   Id. at 2388.
15.   Id. at 2387.
16.   Id. at 2388.
17.   Id.
18.   Id. at 2394 (Scalia, J., dissenting).
19.   Id. at 2387.
20.   See id. at 2387-88; Guzman v. State, 955 S.W.2d 85, 89 (Tex. Crim. App.
1997).  
21.   Guzman, 955 S.W.2d at 89.
22.   Id.
23.   See id.; cf. Gutierrez v. State, 221 S.W.3d 680, 687 (Tex. Crim. App. 2007).
24.   Chadwick, 277 S.W.3d at 103.
25.   Id. at 104.
26.   See Guzman, 955 S.W.2d at 89; cf. Gutierrez, 221 S.W.3d at 687.
27.   See Edwards, 128 S. Ct. at 2387.
28.   See Guzman, 955 S.W.2d at 89; cf. Gutierrez, 221 S.W.3d at 687.


